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FILED

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FOR THE NoRTHERN DISTRICT oF ILLINols til-lib l lt ?f'lll€

EASTERN DIV]SION
FLF?F€I}|§CHAEL W. DOBBJNS
, ,u.__. . ~
DR. LEONARD E. SALTZMAN, individually y 54 P|_QTF€F£`.T L¢QHRT

and on behalf of all others similarly situated',

06CV4481
Piainnff, JUDGE ZAGEL
l\/|AG_ JUDGE ASHMAN
V.
PELLA CORPORATION, an Iowa corporation, JURY TRIAL DEMANDED

and PELLA WINDOWS AND DOORS, INC., a
Delaware corporation,

Defendants.

 

 

CLASS ACTION COMPLAINT

Plaintiff Dr. Leonard E. Saltzman, individually and on behalf of all others similarly
situated, alleges as and for his Class Action Complaint against defendants Pella Corporation and
Pella Windows and Doors, lnc. (collectively “Pella” or “Defendants”), upon personal knowledge
as to himself and his own acts, and as to all other matters upon information and belief, based
upon, inter alia, the investigation made by his attorneys, as follows:

INTRODUCTION

l. This is a proposed class action brought by Plaintiff on behalf of himself and other
consumers of Pella brand windows and doors (collectively, “Pella Windows”), as defined more
fully herein. Plaintiff and the proposed class are owners of structures that contain Pella
aluminum-clad windows Unl<nown to Plaintiff and the Class, Pella aluminum-clad windows
contain a latent defect that allows water to penetrate and leak behind the aluminum cladding,
resulting in premature wood rot and other physical damage to both the window and main

structure Pella’s acts and omissions in connection with its sale and delivery of these defective

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windows violate the consumer protection laws of the states of residence of Plaintiff and the other

members of the elass, and constitute common law fraud, breach of implied warranty and unjust

enrichment
PARTIES
2. Dr. Leonard E. Salrzman. Plaintiff Dr. Leonard E, Saltzman is a natural person
and citizen of lllinois.
3. Pella Co);r.)oran`on. Defendant Pella Corporation is a corporation organized under

the laws of lowa with its principal place of business in Pella, lowa.

4. Pella andows and Doors, Inc. Defendant Pella Windows and Doors, lne., is a
Delaware corporation with its principal place of business in Pella, lowa.

JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction of the claims asserted herein pursuant to
28 U.S.C. §§ l33l and l332(d)(2)(A) in that the amount in controversy exceeds the sum or value
of SS,OO0,0()O, exclusive of interest and costs, and is a class action in which members of the
putative plaintiff class are citizens of States different from Defendants,

6. Venue is proper pursuant to 15 U.S.C. § 80b-l4 and 28 U.S.C. § 1391.
Defendants regularly transact and solicit business in this District.

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7. This case concerns Pella’s failure to disclose to purchasers of its aluminum clad
windows and doors (collectively, “Pella windows”) that there was a substantial risk those
windows would develop leaks because of the defect alleged herein, and that (a) the defect might
not exhibit itself until after the warranty period expired, and that (b) if the latent defect did not

exhibit itself until after the warranty expired, Pella was not committing to repair it.

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8. In essence, Pella knew, prior to sale to Plaintiff and the Class that, for the
indefinite future, there was a substantial risk that its windows would leak. Nevertheless, Pella
failed to disclose that risk and thereby deprived consumers of the opportunity to negotiate
additional warranty coverage, negotiate a lower price to reflect the risk or simply avoid the risk
altogether by purchasing a different manufacturer’s windows. Thereafter, the undisclosed risk
occurred - Plaintift’s windows (and thousand of others) have leaked o and Plaintiff and the Class
have been damaged in the amount it will cost, or they paid, to repair the condition.

9. U.S. consumers reasonably expect that their windows will not leak due to
defective design and manufacturing processes, and U.S. consumers simply had no expectation
that Pella’s windows would leak.

lO. Further, consumers reasonably expect that if Pella knew that it had an inherent
defect problem with leaks developing:

(a) that a manufacturer such as Pella would make a disclosure to
consumers if it determined there was a widespread leakage problem ~»
i.e., that Pella would make a disclosure if it determined that the leakage
risk was no longer insubstantial;

(b) that a manufacturer such as Pella would repair the latent defect ~ even
if the defect did not exhibit itselfuntil after the warranty period expired

_ because the potential causes of the defect are within the control and
responsibility of the manufacturer (not the consumer).

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PELLA’S CONDUCT WITH RESPECT
TO THE WIDESPREAD LEAKAGE
PROBLEM AT ISSUE HERE

l l. Prior to plaintiffs purchase, if not before, Pella was aware that its windows
contained an inherent defect that permitted leakage.

l2. Pella knew (or but for its reckless indifference would have known) that it was
receiving and was going to continue receive reports of leakage Based on its leakage experience,
Pella also knew that even if it diligently investigated its widespread problem, it could take years
to: (a) determine why the problem had developed, (b) conclude what steps should be taken to
solve the problem, and then (c) implement those fixes

13. Thus, Pella knew (or but for its reckless indifference would have known) that for
the indefinite future: (a) the risk of leakage was substantial, (b) Pella’s customers were unaware
of that substantial risk, and (c) those customers had a reasonable expectation that Pella would
disclose that risk and cure the latent defect, even if the defect (leakage) did not exhibit itself until
after the warranty period had expired.

l4. Despite such knowledge, Pella did not disclose to prospective purchasers that: (a]
there was a substantial risk there windows would manifest the defect (leaks), (b) the defect might
not exhibit itself until after the warranty expired, and that (c) if the latent defect did not exhibit
itself until after the warranty expired, Pella was not committing to repair it.

l5. On information and belief, in an attempt to correct the defect, Pella recently
changed the way it applies glue sealant to the window’s sash line. While the sealant had

previously been applied manually, in or about April 2006, Pella purchased a new million-dollar

machine that now applies the glue sealant

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NAMED PLAINTIFF’S ALLEGATIONS

l6. On or about August 31, 1995, Plaintiff purchased several Pella “ProLine”
aluminum-clad wood windows for installation at his residence in Lake Forest, lllinois. The cost
of the windows and installation was 329,846.03.

17` Pella aluminum-clad wood windows, unknown to Plaintiff, were defective in that
they allowed water to penetrate the area behind the aluminum cladding, which caused
condensation, wood rot, leaks and other failures

lS. The characteristics of the window defect (that allowed for the water to penetrate
the aluminum cladding) were present in the windows when they left the factory, and were part of
the window by design and manufacture

l9. ln or about May, 2005, Plaintiff discovered that the aforementioned defect
resulted in damage to the windows and main structure of his home.

20. Upon discovering the aforesaid damage, Plaintiff contacted Pella and requested
repair or replacement of the windows at Pella’s expense, which it refused on grounds that the
windows were no longer under warranty.

2l. Pella further, as part of its scheme to defraud, attributed the damage to faulty
installation

22. The latent defect described herein is found on Pella’s ProLine, Architect Series
and Designer Series aluminum-clad windows With respect to the defect at issue, these
aluminum-clad wood windows share the same design characteristics and manufacturing methods
The design characteristics and manufacturing methods used by Pella to produce aluminum-clad

wood windows resulted in the damages caused Plaintiff and the class

 

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CLASS ACTION ALLEGATIONS
23. Plaintiff brings all claims herein as class claims pursuant to Fed. R. Civ. P. 23.
The requirements of Fed. R. Civ. P. 23(a), (b)(Z) and (b)(3) are met with respect to the class
defined below.
A. Class Dei`lnition(s)
24. The Class consists of:
All persons who own a structure with Pella ProLine, Architect
Series and Designer Series aluminum-clad windows and doors (the
“Class”).l
25. (Alternative) lllinois-only sub-class:
All persons who own a structure, on property located in Illinois,
with Pella ProLine, Architect Series and Designer Series
aluminum-clad windows and doors (the “Class”).
Excluded from the Class are: Defendants, any entities in which they have a controlling interest,
any of their parents, subsidiaries, affiliates, officers directors employees and members of such
persons immediate families, and the presiding judge(s) in this case and his, her or their
immediate family.
B. Numerosity
26. At this time, Plaintiff does not know the exact size of the Class; however, due to
the nature of the trade and commerce involved, Plaintiffs believe that the Class members are so

numerous that joinder of all members is impracticable The number and identities of Class

members is administratively feasible and can be determined through appropriate discovery.

 

‘ _ Plaintiff reserves the right to amend the class definition based upon future investigation,
discovery and the proofs at tria .

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C. Commonality
27. There are questions of law or fact common to the class, including at least the
following:

(a) Whether Pella aluminum clad windows and doors contain the latent defect
alleged herein;

(b) Whether the complained of defect caused the damages of Plaintiff and
other members of the Class;

(c) Whether Defendants had actual or imputed knowledge of the defect but
did not disclose such defect to Plaintiff or the Class;

(d) Whether Defendants had a pattern and practice of attributing the damages
claimed by Plaintiff and the Class to “faulty installation" or improper maintenance, and not due
to the complained of defeet;

(e) Whether Defendants’ conduct constitutes consumer fraud and/or common
law fraud‘,

(f) Whether Defendants were unjustly enriched by their conduct;

(g) Whether Plaintiff and other members of the Class have been damaged, and
if so, what is the proper measure of such damages?

D. Typieality
28. Plaintiff has the Same interests in this matter as all other members of the Class,

and his claims are typical of all members of the class

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E. Adequacy

29. Plaintiff is committed to pursuing this action and has retained competent counsel
experienced in the prosecution and successful resolution of consumer class actions Plaintiff will
fairly and adequately represent the interests of the Class members and does not have interests
adverse to the Class

F. The Prerequisites of Rule 23(b)(2) are Satisfied

30. The prerequisites to maintaining a class action for injunctive and equitable relief
pursuant to Fed. R. Civ. P. 23(b)(2) exist as Defendants have acted or refused to act on grounds
generally applicable to the Class thereby making appropriate final injunctive and equitable relief
with respect to the Class as a whole

31. The prosecution of separate actions by members of the class would create a risk of
establishing incompatible standards of conduct for Defendants For example, one court might
decide that the challenged actions are illegal and enjoin thcrn, while another court might decide
that those same actions are not illegal. Individual actions may, as a practical matter, be
dispositive of the interest of Class members, who would not be parties to those actions

32. Defendants’ actions are generally applicable to the Class as a whole, and Plaintiff
seeks, inter alia, equitable remedies with respect to the class as a whole.

33, Defendants’ systemic policy and practices make declaratory relief with respect to
the class as a whole appropriate

G. The Prerequisites of Rule 23(b)(3) are Satisfled

34. This case satisfies the prerequisites of Fed. R. Civ. P. 23(b)(3). The common
questions of law and fact enumerated above predominate over questions affecting only individual

members of the Class, and a class action is the superior method for fair and efficient adjudication

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of the controversy The likelihood that individual members of the Class will prosecute separate
actions is remote due to the extensive time and considerable expense necessary to conduct such
litigation, especially when compared to the relatively modest amount of monetary, injunctive and
equitable relief at issue for each individual Class member. This action will be prosecuted in a
fashion to ensure the Court’s able management of this case as a class action on behalf of the class
defined above.

FRAUDULENT CONCEALMENT

35. Throughout the Class period, Defendants affirmatively concealed from Plaintiff
and Class the defect described herein.

36. Defendants had a duty to inform Plaintiff and Class of the defect described herein,
which it knew of or should have known. Notwithstanding their duty, Defendants never disclosed
the defects to Plaintiff or the Class', rather, Defendants attributed resulting damage to faulty
installation, maintenance or other third*party conduct.

37. Despite exercising reasonable diligence, Plaintiff and Class could not have
discovered the defects or Defendants’ scheme to avoid disclosure of the defect Thus, running of
the statute of limitations has been tolled with respect to any claims that Plaintiff or the Class have
brought or could have brought as a result of the unlawful and fraudulent course of conduct
described herein.

38. Defendants are further estopped from asserting any statute of limitations defense,
contractual or otherwise, to the claims alleged herein by virtue of its acts of fraudulent

concealment

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CAUSES OF ACTION

COUNT l
(Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act and
Substantially Similar Laws of Other States)

39. Plaintiff repeats and realleges the allegations of the prior paragraphs as if fully
stated herein.

40. At all times relevant hereto, there was in full force and effect the illinois
Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/ l et_se& and substantially
similar state consumer protection statutes (the “Act”). Similar statutes, identical in their material
respects, are in effect in most other jurisdictions within the United States.2

4l. Section 2 of the Act provides in relevant part as follows:

Unfair methods of competition and unfair or deceptive acts or
practices, including but not limited to the use of or employment of
any deceptive, fraud, false pretense, false promise,
misrepresentation or the concealment, suppression or omission of
any material fact, with intent that others rely upon the
concealment, suppression or omission of such material fact, or the
use of employment of any practice described in Section 2 of the
“Uniform Deceptive Trade Practices Act,” approved August 5,
1965, in the conduct of any trade or commerce are hereby declared
unlawful whether any person has in fact been misled, deceived or
damaged thereby, ln construing this section consideration shall be
given to the interpretations of the Federal Trade Comiriission and
the federal courts relating to Section 5(a) of the Federal Trade
Comrnission Act.

8l 5 ILCS 505/2 (footnotcs omitted).
42. Plaintiff and other Class members, as purchasers of Pella windows, are consumers

within the meaning of Consumer Fraud Acts given that Defeiidants’ business activities involve

 

1 The consumer fraud claims of Plaintiff_and resident absent class members is brou ht
under the lllinois Consumer Fraud an_d Deceptive Business Practices Act, Sl 5 ILCS 505 et seq.
The consumer fraud claims of nonresident absent class members are brought under the consumer

protection statute(s) of their respective states of residence

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trade or commercc, are addressed to the market generally and otherwise implicate consumer
protection concems.

43. Section 2 of the lllinois Consumer Fraud Act, Sl5 lLCS 505/2, renders unlawful
the “use or employment of any deception [including the] concealment, suppression or omission
of any material fact, with intent that others rely upon the concealment, suppression or omission

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of such material fact iii the conduct of any trade or commerce .. lllinois caselaw holds that
reliance on the deception is not an element of a consumer fraud claim.

44. Except as noted below, the consumer fraud statutes and/or interpretative case law
of lllinois’ sister states have also either: (a) expressly prohibited omissions of material fact7
without regard for reliance on the deception, or (b) have not addressed those issues3

45. Once the defect’s risk became significaiit, consumers (such as Plaintiff) were

entitled to disclosure of that fact because:

(a) A significant risk of leakage would be a material fact in a
consumer’s decision-making process, and

(b) Without Pella’s disclosure, consumers would not know that there is
any risk of leakage

46. Moreover, because Pella’s warranties are limited in duration, consumers were
further entitled to know that leakage might not exhibit itself until after their warranties expired,
and if that occurred, Pella was not committing to repair the condition All of these facts were

material to consumers' (such as Plaintiff`s) purchase decisions

 

3 Excluded from the consumer fraud class are_: _(l)_all ersons'and commercial entities in
lndiana, lowa and Utah, and 2) all commercial entities in t le I_)istric_:t of_Columbia, Florida, _
Hawaii, Kansas, Kentucky, aine, _Maryland Michigar_i, l\/Iississippi2 Missouri, Montana, Ohio,
Oregon, Rhode lsland, Vermont, Virginia, West Virgrnia and Wyoming.

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47. Pella intended that Plaintiff and the Class would rely on the deception by
purchasing its windows, unaware of the material facts described above This conduct constitutes
consumer fraud within the meaning of the various consumer protection statutes

48. Plaintiff and the Class have been damaged by Pella’s deception because: (a) they
purchased Pella windows that developed the undisclosed risk/defect - leakage, (b) in many
instances the condition exhibited itself after Plaintiff’s warranty period expired, and (c) Pella
refused to pay to repair the condition because the warranty had expired.

49. lf Pella had disclosed the above facts to Plaintiff, he could have (and would have)
prevented economic injury by either negotiating additional warranty coverage, negotiating a
lower price to reflect risk or simply avoiding the risk altogether by purchasing a different
manufacturer’s windows

50. Defendants have committed deceptive acts or practices within the meaning of the
Act by engaging in the acts and practices alleged herein, including, but not limited to, its failure
to disclose the material defects

51. Defendants’ conduct alleged herein is furthermore unfair insofar as it offends
public policy', is so oppressive that the consumer has little alternative but to submit; and causes
consumers substantial injury.

52. As a direct and proximate result of the unfair acts or practices of Defendants
alleged herein, Plaintiff and other members of the Class were damaged

WHEREFORE, Plaintiff, individually and on behalf of the Class of persons described
herein, pray for an Order as follows:

A. Finding that this action satisfies the prerequisites for maintenance as a class action

set forth iri ch. R. Civ. P. 23(a), (b)(?_) and (b)(3), and certifying the Class defined herein;

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B. Designating Plaintiffs as representatives of the Class and their counsel as Class
counsel;

C. Entering judgment in favor or Plaintiff and the Class and against Defendant;

D. Awarding Plaintiff and Class members their individual damages and attomeys’

fees and allowing eosts, including interest thereon; and
E. Granting such further relief as the Court deems just.

COUNT II
(Violation of the Uniform Deceptive Trade Practices Act)

53. Plaintiff repeats and realleges the allegations of the prior paragraphs as if fully
stated herein.

54. At all times relevant hereto, there was in full force and effect the Uniform
Deceptive Trade Practices Act (“UDTPA”), 8l5 lLCS 510/l. Similar statutes, identical in their
material respects, are in effect in most other jurisdictions within the United States

55. The UDTPA prohibits, inter alia, representing that goods have characteristics
ingredients uses, or benefits that they do not have 815 ILCS 510/2(5).

56. Defendants have committed deceptive acts or practices within the meaning of
UDTPA by engaging in the acts and practices alleged herein, including, but not limited to, its
failure to disclose the material defects

57. As a result of Defendants’ violation of UDTPA, Plaintiff and other members of
the Class sustained a loss or damages

WHEREFORE, Plaintiff, individually and on behalf of the Class of persons described

herein, pray for an Order as follows:

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A. Finding that this action satisfies the prerequisites for maintenance as a class action
set forth in Fed. R. Civ. P. 23(a), (b)(Z) and (b)(3), and certifying the Class defined herein;

B. Designating Plaintiffs as representatives of the Class and their counsel as Class
counsel;

C. Entering judgment in favor or Plaintiff and the Class and against Defendant;

D. Awarding Plaintiff and Class members their individual damages and attorneys’
fees and allowing costs, including interest thereon; and

E. Granting such further relief as the Court deems just.

COUNT lIl
(Common Law Fraud by Omission)

58. Plaintiff repeats and realleges the allegations of the prior paragraphs as if fully
Stated herein.

59. Pella, through its experience, was in a position of superiority over Plaintiff and
class members with respect to knowledge that: (a) there was a substantial risk that its windows
would develop leaks, (b) the defect might not exhibit itself until after the warranty period
expired, and that (c) Pella was not committing to repair the latent defect if it exhibited itself after

the warranty period expired

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60. ln other words, once the risk of the leaks became significant, consumers (such as
Plaintiff) were entitled to disclosure of that fact because:

(a) A significant risk of window leakage would be a material fact in a
consumer’s decision-making process; and

(b) without Pella’s disclosure consumers would not know that there is any
risk of leakage

61. Moreover, because Pella’s warranties are limited in duration, consumers were
further entitled to know that leakage might not exhibit itself until after their warranties expire,
and if that occurred, Pella was not committing to repair the condition All of these facts were
material to consumers’ (such as Plaintiff’s) purchase decisions

62. Plaintiff and the class reasonably relied on Pella to disclose those material facts
If Pella had disclosed the above facts to Plaintiff and the Class._ they could have (and would have)
prevented economic injury by either negotiating additional warranty coverage negotiating a
lower price to reflect the risk or simply avoiding the risk by purchasing a different
manufacturer’s windows

63. Pella failed to disclose those material facts and, as a proximate result, Plaintiff and
the Class have been damaged because: (a) they purchased Pella windows that developed the
undisclosed risk -- leakage, (b) the condition exhibited itself after Plaintiff's warranty period
expired, and (c) Pella refused to repair the condition because the warranties had expired

WHEREFORE, Plaintiff, individually and on behalf of the Class of persons described
herein, pray for an Order as follows:

A_ Finding that this action satisfies the prerequisites for maintenance as a class action

set forth in Fed. R. Civ. P. 23(a), (b)(2) and (b)(?)), and certifying the Class defined herein;

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B. Designating Plaintiffs as representatives of the Class and their counsel as Class
counsel;

Co Entering judgment in favor or Plaintiff and the Class and against Defendant;

D. Awarding Plaintiff and Class members their individual damages and attomeys’
fees and allowing costs, including interest thereon; and

E. Granting such further relief as the Court deems just.

COUNT IV
(Breach of Implied Warrarity of Merchantability)

64. Plaintiff repeats and realleges the allegations of the prior paragraphs as if fully
stated hereino

65 . At all times relevant hereto, there was duty imposed by law which requires that a
manufacturer or seller’s product be reasonably fit for the purposes for which such products are
used, and that product be acceptable in trade for the product descriptionl

66. Notwithstanding the aforementioned duty, at the time of delivery, Pella
aluminum-clad windows sold to Plaintiff and the Class were not merchantable

67. As documented in its own business records and elsewhere Defendants were
notified that its aluminum-clad windows were not merchantable with a reasonable time after the
latent defect manifested itself to Plaintiff and the Class

68. As a result of the non-merchantability of the Pella aluminum-clad windows
described herein, Plaintiff and other members of the Class sustained a loss or damages

WHEREFORE, Plaintiff, individually and on behalf of the Class of persons described

hereinj pray for an Order as follows:

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A. Finding that this action satisfies the prerequisites for maintenance as a class action

set forth in Fed. R. Civ. P. 23(a), (b)(2) and (b)(3), and certifying the Class defined herein;

B. Designating Plaintiffs as representatives of the Class and their counsel as Class
counsel;

C. Entering judgment in favor or Plaintiff and the Class and against Defendant;

D. Awarding Plaintiff and Class members their individual damages and attomeys’

fees and allowing costs including interest thereon; and
E. Granting such further relief as the Court deems just.
COUNT IV
(Unjust Enrichment
(Alternative Count)
69. Plaintiff repeats and realleges the allegations of the prior paragraphs as if fully
stated herein.
70. Plaintiff and the Class have conferred benefits on Defendants by purchasing Pella
windows
71. Defendants have knowingly and willingly accepted these benefits from Plaintiff
and the Class
72. Under the circumstances it is inequitable for Defendants to retain these benefits at
the expense of Plaintiff and the Class
73. Defendants have been unjustly enriched at the expense of and detriment of
Plaintiff and the Class by wrongfully collecting money to which Defendants in equity, is not
entitled

74. Plaintiff and the Class are entitled to recover from Defendants all amounts

wrongfully collected and improperly retained by Defendants plus interest thereon.

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75. As a direct and proximate result of Defendants’ unjust enrichment, Plaintiff and
the Class have suffered injury and are entitled to reimbursement, restitution and disgorgement
from Defendants of the benefits conferred by Plaintiffs and the Class

76. Plaintiff and the Class have no adequate remedy at law.

77. Plaintiff seeks to obtain a pecuniary benefit for the Class in the form of all
reimbursement, restitution and disgorgement from Defendants Plaintiff`s counsel are entitled to
recover their reasonable attomeys’ fees and expenses as a result of the conference of a pecuniary
benefit on behalf of the Class and will seek an award of such fees and expenses at the
appropriate time

WHEREFORE, Plaintiff, individually and on behalf of the Class of persons described
herein, pray for an Order as follows:

A. Finding that this action satisfies the prerequisites for maintenance as a class action

set forth in Fed. R. Civ. P. 23(a), (b)(2) and (b)(3), and certifying the Class defined herein;

B. Designating Plaintiffs as representatives of the Class and their counsel as Class
counsel;

C. Entering judgment in favor or Plaintiff and the Class and against Defendants;

D. Awarding Plaintiff and Class members their individual damages and attomeys’

fees and allowing costs including interest thereon; and

Et, Granting such further relief as the Court deems just

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.IURY DEMANI)

Plaintiff demands a trial by jury on all issues so triable

DATED: August 18, 2006

Respectfully submitted,

DR. LEONARD E. SALTZMAN,
Class Plaintiff, ,.

By:

 

One of His Attorneys

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Proposed Class

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